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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

 IN RE:                                            §                CHAPTER 11
                                                   §
 TODD MEAGHER,                                     §                CASE NO. 20-40208-11
                                                   §
          DEBTOR.                                  §


        CHAPTER 11 DEBTOR’S MOTION TO SELL AND ASSIGN CERTAIN
    INTELLECTUAL PROPERTY RIGHTS FREE AND CLEAR OF LIENS, CLAIMS,
                         AND ENCUMBRANCES


    HEARING DATE ON SUCH SALE IS SET FOR MAY 13, 2020 at 1:30 P.M., WHICH
    IS AT LEAST 21 DAYS FROM THE DATE OF SERVICE HEREOF. NO OBJECTION
    TO SUCH SALE WILL BE CONSIDERED UNLESS A WRITTEN RESPONSE IS
    FILED WITH THE CLERK OF THE UNITED STATES BANKRUPTCY COURT AT
    501 W. 10TH STREET, ROOM 128, FORT WORTH, TEXAS 77102 AT LEAST 4
    DAYS IN ADVANCE OF SUCH HEARING DATE.

    ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK, AND A
    COPY SHALL BE SERVED UPON COUNSEL FOR THE MOVING PARTY PRIOR
    TO THE DATE AND TIME SET FORTH HEREIN. IF A RESPONSE IS FILED A
    HEARING MAY BE HELD WITH NOTICE ONLY TO THE OBJECTING PARTY.

    IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY REQUESTED, THE
    RELIEF REQUESTED SHALL BE DEEMED TO BE UNOPPOSED, AND THE
    COURT MAY ENTER AN ORDER GRANTING THE RELIEF SOUGHT OR THE
    NOTICED ACTION MAY BE TAKEN.



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 TO THE HONORABLE MARK X. MULLIN,
 UNITED STATES BANKRUTPCY JUDGE:

         NOW COMES TODD MEAGHER (“Meagher” or “Debtor”), the Debtor-in-Possession

 in the above-captioned Chapter 11 case (the “Bankruptcy Case”), and respectfully files this

 motion (the “Motion”) pursuant to section 363 of title 11 of the United States Code (the “Bankruptcy

 Code”), and Rule 6004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) to

 sell and assign certain intellectual property rights (as defined below) free and clear of all liens,

 claims, and encumbrances.

                                    JURISDICTION AND VENUE

         1.      This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1334. This is

 a core proceeding under 28 U.S.C. § 157(b)(2)(A)(N) and (O). Venue is proper before this

 Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         2.      The statutory bases for relief are sections 105 and 363 of the Bankruptcy Code.

                                          BACKGROUND

         3.      Since commencing this Bankruptcy Case on January 15, 2020, the Debtor

 continues to operate his businesses and manage his properties as debtor and debtor in

 possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

         4.      The Debtor has been an independent software developer and Internet Business

 developer since 1994, is engaged in the development, acquisition and operation of Internet

 business software and intellectual property rights since 2004, and has conducted his business,

 primarily in Tarrant County. The Debtor maintains a home office in Keller, Texas.

         5.      As this Court is aware, the Debtor is a defendant and counter-claimant in ongoing

 litigation with HEB Grocery Company, LP (“HEB”) in the U.S. District Court for the Southern



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 District of Texas. In that case, HEB complains of alleged trademark infringement by the Debtor

 and other related claims. However, none of HEB’s claims contest title to any trademarks

 whatsoever.         On March 11, 2020, this Court granted HEB very limited relief from the

 automatic stay for the sole purpose of obtaining a ruling on its Motion for Summary Judgment.

 At oral hearing, HEB represented to the Court that such a ruling was “imminent.”

            6.       Instead, on March 30, the District Court vindicated all of Debtor’s concerns

 regarding HEB’s stay relief. Rather than ruling on HEB’s Motion for Summary Judgment, the

 District Court set another pre-trial scheduling conference for June 25, 2020. This will be the

 eleventh such hearing and will require the Debtor to incur additional attorneys’ fees as well as

 travel to Houston again to hash out further pre-trial motions and schedule further discovery.

                                         RELIEF REQUESTED

            7.       The Debtor cannot afford to continue litigation with HEB at all, much less while

 this Bankruptcy Case is pending. To obtain a much-needed capital infusion, the Debtor asks for

 the Court’s authority to enter into the attached Intellectual Property Purchase and Assignment

 Agreement (the “Purchase Agreement”), marked Exhibit A. Also attached hereto and marked

 Exhibit B is the Declaration of Todd Meagher in support of the Motion.

            8.       Through the Purchase Agreement, the Debtor intends to sell his IP Rights1 to

 GHER Solutions, LLC (“GHER”). As HEB’s claims are for alleged trademark infringement—

 no causes of action purport to cloud, encumber, or otherwise contest title to the IP Rights—the

 Debtor can confidently represent to the Court that the IP Rights he intends to sell are free and

 clear of any liens or encumbrances.

            9.       The proposed purchaser, GHER, is an unsecured creditor in this Bankruptcy Case.


 1
     As defined in Ex. A, Recital A.


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 GHER is owned by Debtor’s son, Nickolas Meagher. Debtor owned GHER until 2011, when he

 sold the company to his son, Nickolas Meagher. To date, Debtor does not own or hold any

 interest in GHER but Debtor has worked as an independent contractor with GHER on various

 occasions. Since 2011, Debtor also licensed the IP Rights to GHER, which it continues to

 actively use in its business.

         10.        Shortly after HEB sued the Debtor, GHER provided Debtor with a loan to defray

 the Debtor’s litigation costs. That loan, which remains partially unpaid, shall be forgiven

 pursuant to the Purchase Agreement, with the remainder of the purchase price to be paid via

 cash. To protect future marketability of the IP Rights, neither the Debtor nor GHER wish for the

 purchase price to be made public. However, the Debtor will disclose the purchase price to any

 interested party requesting it, including the Court, the U.S. Trustee’s office, the U.S. Patent &

 Trademark Office, and any creditor in this Bankruptcy Case.

         11.        GHER’s offer will expire on May 31, 2020 and time is therefore of the essence.

 The Purchase Agreement was negotiated and executed at arm’s length, in the ordinary course of

 the Debtor’s business, and approval of the sale will benefit the Debtor’s estate by providing

 significant income to Debtor’s estate whilst eliminating a large portion of Debtor’s unsecured

 claim liability.

                                        BASIS FOR RELIEF

 A.      The Purchase Agreement is an “Ordinary Course of Business” Transaction.
         12.        Section 363(c) of the Bankruptcy Code provides that a debtor “may enter into

 transactions, including the sale or lease of property of the estate, in the ordinary course of

 business, without notice or a hearing, and may use property of the estate in the ordinary course of

 business without notice or a hearing.” 11 U.S.C. § 363(c)(1). A transaction is in the ordinary




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 course of business if it is “of the sort commonly undertaken by companies in [the debtor’s]

 industry” and it does not subject a hypothetical creditor “to economic risk of a nature different

 from those he accepted when he decided to extend credit.” In re Roth Am., Inc., 975 F.2d 949,

 952–53 (3rd Cir. 1992).

         13.     Selling, licensing and assigning intellectual property rights is in the ordinary

 course of the Debtor’s business. It provides an important source of funding so as to allow the

 Debtor to continue his operations. The Debtor and similar companies in the industry often sell

 and assign intellectual property rights through purchase agreements substantially similar to the

 Purchase Agreement. Accordingly, the Debtor respectfully submits that the Court should

 approve the sale and assignment of the intellectual property rights defined in the Purchase

 Agreement (the “IP Rights”) as an ordinary course transaction under section 363(c)(1) of the

 Bankruptcy Code.

 B.      The Sale and Assignment of the IP Rights is an Exercise of the Debtor’s Sound
         Business Judgment.

         14. The Debtor believes that selling the IP Rights is in the ordinary course of

 business. If however, the sale and assignment were deemed to occur outside the ordinary

 course of business, the Debtor, out of an abundance of caution, seeks approval of the sale and

 assignment of the IP Rights pursuant to section 363(b) of the Bankruptcy Code. Section 363(b)

 of the Bankruptcy Code provides that a debtor, “after notice and a hearing, may use, sell, or

 lease, other than in the ordinary course of business, property of the estate.” 11 U.S.C. §

 363(b)(1).

         15.     Bankruptcy      Code     section    363(b)    does    not   specify   a   standard   for

 determining when it is appropriate for a court to authorize the use, sale, or lease of property

 of the estate; however, bankruptcy courts have required that the authorization of such use,



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 sale, or lease of property of the estate out of the ordinary course of business be based upon

 sound business justification. See Institutional Creditors of Continental Air Lines, Inc. v.

 Continental Air Lines, Inc., et al. (In re Continental Air Lines, Inc.), 780 F.2d 1223, 1226 (5th

 Cir. 1986) (“[F]or a debtor-in-possession or trustee to satisfy its fiduciary duty to the debtor,

 creditors and equity holders, there must be some articulated business justification for using,

 selling, or leasing the property outside the ordinary course of business.”); see also In re

 ASARCO, L.L.C., 650 F.3d 593, 601 (5th Cir. 2011); In re Cowin, No. 13-30984, 2014 WL

 1168714, at *38 (Bankr. S.D. Tex. Mar. 21, 2014). Once the Debtor articulates a valid business

 justification, “[t]he business judgment rule is a presumption that in making the business

 decision the directors of a corporation acted on an informed basis, in good faith and in the

 honest belief that the action was in the best interests of the company.” In re S.N.A. Nut Co., 86

 B.R. 98 (Bankr. N.D. Ill. 1995); see also In re Integrated Res., Inc., 147 B.R. 650, 656 (Bankr.

 S.D.N.Y. 1992); In re Johns- Manville Corp., 60 B.R. 612, 615–16 (Bankr. S.D.N.Y. 1986) (“. .

 . a presumption of reasonableness attaches to a Debtor’s management decisions.”).

         16.     The Debtor has a sound business justification for selling the IP Rights under

 the terms of the Purchase Agreement. The Debtor is depending on the funding raised from

 selling t h e IP Rights in order to continue his operations. If the Debtor is not allowed to sell

 the IP Rights, it will deprive the Debtor’s estate of much needed capital, w h i c h allows for

 the continuation of the Debtor’s business operations.

 C.      The Court May Authorize the Sale and Assignment Free and Clear of All
         Liens.

         17.     Section 363(f) allows the Debtor to sell and assign the IP Rights free and clear

 of any interest in the IP Rights if:

 (1) applicable nonbankruptcy law permits sale of such property free and clear



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 of such interest;
 (2) such entity consents;
 (3) such interest is a lien and the price at which such property is to be sold is
 greater than the aggregate value of all liens on such property;
 (4) such interest is in a bona fide dispute; or
 (5) such entity could be compelled, in a legal or equitable proceeding, to accept a
 money satisfaction of such interest.

 11 U.S.C. § 363(f) (emphasis added).

         18.     There are no creditors with any liens on or interests in the IP Rights, and the

 Debtor does not expect any secured party to object to the Motion.

         19.     The Debtor is not aware of any party asserting a lien on the IP Rights. To

 the extent any such lien exists, the Debtor submits that any such lien, claim, or

 encumbrance will be adequately protected by attachment to the net proceeds of the sale

 and assignment, subject to any claims and defenses that the Debtor may possess with respect

 thereto and/or the Debtor will obtain the consent of the party holding the lien, claim or

 encumbrance.

         20.     Accordingly, the Debtor requests authority to sell the IP Rights to GHER free

 and clear of all liens, claims, and encumbrances, with such liens, claims, and encumbrances

 attaching to the proceeds of the sale and assignment of the Intellectual Property Rights.

                  WAIVER OF STAY UNDER BANKRUPTCY RULE 6004(h)

         21.     Bankruptcy Rule 6004(h) provides that “[a]n order authorizing the use, sale,

 or lease of property other than cash collateral is stayed until the expiration of 14 days after

 entry of the order, unless the court orders otherwise.” FED. R. BANKR. P. 6004(h). As described

 above, the relief that the Debtor seeks in this Motion is necessary for the Debtor to

 maximize value for his estate. Accordingly, the Debtor respectfully requests that the Court



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 waive the fourteen-day stay imposed by Bankruptcy Rule 6004(h), as the exigent nature of the

 relief sought herein justifies immediate relief.

                                               NOTICE

         22.     Notice of this Motion shall be given to (a) the U.S. Trustee; (b) all known

 creditors; (c) the United States Patent and Trademark Office; and (d) any party that has

 requested notice pursuant to Bankruptcy Rule 2002 as of the time of service. Due to the

 nature of the relief requested herein, the Debtor submits that no other or further notice need be

 provided.

                                           CONCLUSION

         23.     Debtor respectfully requests that this Court enter an Order authorizing him to

 sell and assign the IP Rights to GHER Solutions, LLC pursuant to the Purchase Agreement free

 and clear of all liens, claims, and encumbrances; and authorizing all necessary actions by all

 parties including but not limited to the Debtor, GHER, the U.S. Patent & Trademark Office, and

 Trademark Trial & Appeals Board, to effectuate these transactions; and granting such other and

 further relief as may be just and proper.




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 Dated: April 13, 2020                                             Respectfully submitted,


                                                                   /s/Mark A. Castillo
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                                                                   Texas State Bar No. 24027795
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                                                                   COUNSEL FOR
                                                                   DEBTOR IN POSSESSION



                                    CERTIFICATE OF SERVICE

        This is to certify that, on April 13, 2020, a true and correct copy of the foregoing
 document, was served via the Court’s CM/ECF service system and/or to all parties in the
 attached service matrix and the United States Patent and Trademark Office.


                                                                   /s/Robert C. Rowe
                                                                   Robert C. Rowe




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